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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

CYNTHIA CLARK, individually and on behalf of
all others similarly situated,

Plaintiffs, .
Civil Case No: 1:18-cv-3672 (SAG)

V.

BANK OF AMERICA, N.A.,

 

 

REDACTED] MEMORANDUM I PPOSITI TO DEFEND °S MOTI
FOR SUMMARY JUDGMENT
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INTRODUCTION

Bank of America, N.A. (“BofA”), a mortgage lender, regularly requires borrowers to maintain
escrow accounts to cover payments for property taxes and insurance on mortgaged properties. It
collects the funds from borrowers in advance, holds them in escrow, and then directly pays property
taxes and insurance premiums when they become due. Because the escrowed funds remain the
borrower’s money until actually paid out, Maryland requires lenders to pay interest on the funds. See
Md. Com. Law Code § 12-109. The statute provides in relevant part:

A lending institution which lends money secured by a first mortgage or first deed of

trust on any interest in residential real property and creates or is the assignee of an

escrow account in connection with that loan shall pay interest to the borrower on the

funds in the escrow account at an annual rate not less than the weekly average yield

on United States Treasury securities adjusted to a constant maturity of 1 year, as

published by the Federal Reserve in “Selected Interest Rates (Daily) -- H.15”, as of the

first business day of the calendar year.

Md. Com. Law Code § 12-109(b)(1).

BofA does not comply with this statute and does not pay interest on funds in escrow accounts
to borrowers like Plaintiff Cynthia Clark (“Clark” or “Plaintiff’). BofA does not dispute that it is a §
12-109 “lending institution”. Nor does BofA dispute that the accounts at issue in this case are § 12-
109 “escrow account[s].” Nor does BofA dispute that other national banks, including its direct
competitors, comply with § 12-109 and other similar state escrow interest statutes.

Nevertheless, BofA contends that it need not follow § 12-109 because the National Banking
Act of 1864 (the “NBA”) and regulations promulgated pursuant to it by the Office of the Comptroller
of Currency (“OCC”) preempt such statutes. But BofA is incorrect. Preemption is a matter of
Congressional intent and in 2010 Congress specifically enacted 15 U.S.C. § 1639d(g)(3), which states:
“If prescribed by applicable State or Federal law, each creditor shall pay interest to the consumer on

the amount held in any impound, trust, or escrow account that is subject to this section in the manner

as prescribed by that applicable State or Federal law.” 15 U.S.C. § 1639d(g)(3). This Court and every
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other court that has considered the issue has rejected BofA’s preemption defense. See, e.g., Lusnak ».
Bank of America, N.A., 883 F.3d 1185 (9th Cir. 2018), cert. denied, 139 S.Ct 567; Clark v. Bank of Am.,
N.A., 2020 WL 902457, at *6 (D. Md. Feb. 24, 2020) (Gallagher, J.); Hymes v. Bank of Am., N.A., 408
F. Supp. 3d 171, 175 (E.D.N.Y. 2019).

Yet, this Court’s decision that BofA is not excused from Maryland’s escrow interest statute
has not been enough to prompt BofA to comply with § 12-109. Instead, BofA continues to refuse to
pay escrow interest to Maryland borrowers and now brazenly asserts that it is entitled to summary
judgment against Ms. Clark for reasons that would apply equally to every member of the putative class
she seeks to represent. In short, BofA asks this Court to deny Maryland borrowers the ability to give
this Court’s order any practical effect. BofA’s arguments are without merit, and its motion should be
denied.

Plaintiff separately calls for this Motion to be denied based on D. Md. Local Rule 105.2.c,
which the Court cited in its July 9, 2020 scheduling order, See ECF No. 67 at 4 (“If more than one
party intends to file a summary judgment motion, the provisions of Local Rule 105.2.c apply.”), and
which provides: “In a two-party case, if both parties intend to file summary judgment motions, counsel
ate to agree among themselves which party is to file the initial motion. After that motion has been
filed, the other party shall file a cross-motion accompanied by a single memorandum (both opposing
the first party’s motion and in support of its own cross-motion), the first party shall then file an
opposition/reply, and the second party may then file a reply.” D. Md. L.R. 105.2.c. BofA filed its
Motion on June 9, 2021 without notice to Plaintiff and agreement by both parties as to “which party
is to file the initial motion.” See zd. Plaintiff raised this violation with BofA, who refused to stay the

Motion. As such, BofA’s Motion should also be denied on this basis.!

 

* Further, the one-way intervention rule prohibits Plaintiff from seeking summary judgment before
class certification, so BofA not only files its Motion in breach of D. Md. L.R. 105.2.c but also while
Plaintiff cannot file a cross-motion for summary judgment—contrary to what the rule contemplates.

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BACKGROUND

The relevant facts at issue are not complicated. As this Court previously explained, the two
most critical facts are:

First, under Maryland law, when lending institutions maintain escrow accounts on

behalf of borrowers, the lenders must pay interest on those funds. Md. Code Ann.,

Com. Law § 12-109(b)(1). Second, [BofA] concedes that it has not paid interest on

Plaintiff’s escrow account, even though the law plainly requires it to do so.
(ECF No. 65 at 3.) BofA’s moving papers nevertheless attempt to muddy the water by cobbling
together random snippets of testimony to minimize the value of escrow interest and paint BofA’s
actions in a favorable light. For instance, BofA asserts that its use of escrow accounts is a “benefit to
the borrowers.” Mot. at 3 (internal citation omitted). But regardless of whether Plaintiff found her
escrow account “helpful” as BofA contends, see 7d, that does not change BofA’s duty under Maryland
law to pay Plaintiff interest on her escrowed funds.

BofA also cherry-picks Plaintiffs testimony to falsely suggest that escrow interest is

unimportant to her” because she didn’t ask BofA,’ Mortgage American Bankers,‘ or her new mortgage

 

* BofA misconstrues Plaintiff's testimony in claiming that the interest rate was the only factor
contributing to her decision to refinance in 2013. Mot. at 5. Rather, Plaintiff only testified that she
could not recall other considerations. See Ex. 1, Cynthia Clark Dep. at 91:4-9 (Q: “Was there any other
terms of your mortgage loans that were important to you .... when you refinanced your mortgage
with Bank of America in 2013?” A: “I don’t know.”); zd. at 91:10-19 (replying “no” when asked if she
could “think of anything else that was important” to her 2013 decision to refinance other than the
mortgage rate). And as BofA later admits, Plaintiff ultimately refinanced with BofA ata Aigherinterest
rate than the alternative she considered. See Mot. at 5 (citing Clark Dep. 107:19-108:4).

> Plaintiff testified that she did not recall whether she had asked BofA whether she would receive
escrow interest. See Ex. 1, Clark Dep. at 65:4-8 (Q: “Do you recall whether you asked Bank of America
whether you would receive interest on your escrow account if any escrow account was established?”
A: “No.”); id. at 79:7-11 (Q: “Do you recall asking Bank of America whether you would be paid
interest on any escrow account that was established in connection with your 2010 mortgage loan?” A:
“No.”).

* Although Plaintiffs consideration of an alternate mortgage lender is immaterial, BofA
mischaracterizes Plaintiff's testimony in an effort to frame Plaintiff as indifferent to her escrow
account and escrow interest. Mot. at 5. Although Plaintiff agreed that “[s]he never asked whether
Mortgage American Bankers would require her to set up an escrow account,” zd, she did so “[b]ecause

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lender’ whether she would receive interest on escrow funds. See Mot. at 3-5, 7. But Ms. Clark explained
that would only have been because “[she] didn’t believe that was an option that [she] had.” See Clark
Dep. at 97:12-14. And in any event, the subjective value Plaintiff put on escrow interest is immaterial
as it does not undergird any claim in this litigation.

What is material and undisputed is that BofA required Ms. Clark to establish an escrow
account in connection with her 2005, 2010, and 2013 refinances. See Mot. at 3-5; Answer (ECF No.
41) Ff 1, 18, 31, 56, 93; ECF No. 100-17, Clark Decl. { 2. Plaintiff also does not dispute that BofA
paid Plaintiff some amount of escrow interest in connection with her 2005 mortgage.° There is thus
likewise no dispute that BofA knows how to comply with § 12-109 because BofA previously paid
interest to borrowers like Plaintiff and had a policy to do so prior to its merger with Countrywide in
2008. See Opp. to Mot. for Class Certification (ECF No. 108) (‘Since 2008, Bank of America’s written

policy has generally provided that it will not pay interest on escrow accounts established for mortgage

loans that the Bank itself originated.”); see a/so Ex. 2, Orriss Dep. at 44:20-2?

 

I assumed that a mortgage escrow account was always necessary when you had a mortgage.” Clark
Dep. at 96:18-97:5. Likewise, although Plaintiff speculated that she probably did not ask Mortgage
America Bankers whether she would receive interest on escrowed funds, see also Clark Dep. at 97:7-
14 (explaining that Plaintiff probably did not ask Mortgage America Bankers about escrow interest
because “[she] didn’t believe that was an option that [she] had”). Her testimony thus does not show
indifference toward whether she would be paid escrow interest.

° Contrary to BofA’s depiction, Mot. at 7, Plaintiff did not ask her new lender whether it would pay
escrow interest not because of indifference, but because: “We [Plaintiff and her daughter] purchased
this house together and I let her handle everything because I was so busy.” Clark Dep. at 32:6-10.
Indeed, Plaintiff moved to Georgia just the week before her deposition. See Clark Dep. at 10:4-5, 32:7-8.

° BofA has refused to date to provide a complete accounting through documents and testimony of
the escrow interest, tax forms, and account statements Plaintiff recetved for the years prior to 2013.
Indeed, when BofA’s designated Rule 30(b)(6) witness was asked whether Plaintiff was paid interest
in any year prior to 2013, BofA’s counsel improperly directed the witness not to answer on privilege
grounds. See Ex. 2, Orriss Dep. at 31:21-36:4. However, the Court’s scheduling order specifically
contemplates additional merits discovery following a class certification decision. ECF No. 74.

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Indeed, BofA admits in its Answer that it “was aware of state and federal laws concerning mortgage
escrow accounts and that Bank of America knew that it did not pay interest on the funds held in all
mortgage escrow accounts, including Plaintiffs.” ECF No. 41 { 70.

However, contrary to BofA’s suggestion that its policy change to withhold escrow interest was
a legal decision, BofA’s corporate representative testified IE , which BofA now
seeks to justify post hoc. See Ex. 3 Deposition of J. Orriss Tr. in Lusnak v. Bank of Am., N.A. (Case No.
2:14-cv-01855-GW (AJW) (C.D.C.A)) at 103:3-23 (cxplining [is
OO —CSSCSC‘C‘CS

Plaintiff also agrees that BofA stopped paying her escrow interest pursuant to its classwide
policy that this Court has held violated Maryland law.® See Mot. at 4; Dkt. 39. It is further undisputed
that BofA sent “monthly and other periodic statements to Plaintiff,” which did “not reflect the
payment of interest on the funds held in [Plaintiffs] mortgage escrow account|].” See Answer (Dkt.
41) 4] 71, 73-74, 93. See also Ex. 4 (BofA Your Home Loan Account Statement — 12/1/2016); Ex. 5
(Notice Concerning Your Esctow Account); Ex. 6 (BofA Updated Escrow Analysis — 8/15/2014);
Ex. 7 (BofA Escrow Account Disclosure Statement — 8/1/2016). As to these statements, Ms. Clark

testified that she assumed that the “figures” were accurate. Ex. 1, Clark Dep. at 149:21-152:4. She thus

made payments according to these statements, effectively overpaying
eC No. 102,

 

’ BofA has steadfastly refused to permit discovery into the bases for its decision to stop paying esctow
interest.

8 Documents available to Plaintiff suggest that BofA may have stopped paying her escrow interest in
connection with her 2010 refinancing. However, BofA has improperly refused pre-2013 discovery on
privilege grounds. See infra n.6.
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Expert Rep. of Arthur Olsen § 25.’

BofA faults Plaintiff for not contacting it to ask why it stopped paying interest. Mot. at 4-6.
But BofA misleadingly assumes Plaintiff had full knowledge of the escrow interest she was not
receiving in violation of § 12-109, which the evidentiary record does not bear out. BofA self-servingly
omits Plaintiffs reasons for not contacting BofA about its escrow interest policy: “If the law requires
the bank to pay interest, but the bank was not paying interest, I really didn’t understand that ...so I
needed to consult with an attorney,” and “I wasn’t sure how all this works.” Ex. 1, Clark Dep. at
138:9-13, 138:22-139:1. And even after securing counsel, the record indicates that any effort to
complain would have been futile given BofA’s blanket refusal to ever pay interest to borrowers like
Plaintiff—even where complaints are made, lawsuits are initiated, and court orders finding that BofA
must comply with § 12-109 are issued. See section IV.B, znfra; see also Plaintiffs Reply in Support of
Motion for Class Certification, ECF No. 114 at 16-17.

BofA claims that Plaintiff should have been put on notice that BofA does not pay escrow
interest based on its tax forms, annual escrow account disclosure statements, and “Escrow Account
Review” documents. Mot. at 3-5. As a threshold matter, the record shows that BofA’s statements,
forms, and disclosures were far from transparent on the issue of escrow interest. See Exs. 4-7. But
regardless, under the continuing violations doctrine, Plaintiff is entitled to damages going back three
years from the filing of her lawsuit, or November 29, 2015, regardless of whether she previously had
constructive knowledge of her claims. In any event, this Court cannot conclude as a matter of
undisputed fact that Plaintiff had such constructive knowledge. To the contrary, this Court should

reject outright BofA’s request to impute such knowledge to Plaintiff based on piecing together various

 

° Although BofA asserts that Plaintiff made delinquent payments and that BofA advanced expenses
for Plaintiff, Mot. at 6, both facts are immaterial to Plaintiffs claims because she ultimately paid off
her loan in April 2021 as BofA acknowledges, Mot. at 7, and thus fully performed her material
contractual obligations, leaving intact BofA’s obligation to pay escrow interest.

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obscure, misleading, and contradictory communications regarding escrow interest.”
In short, BofA fails to carry its burden of showing as a matter of undisputed fact that it is
entitled to summary judgment on Plaintiffs claims. BofA’s motion should accordingly be denied.

ARGUMENT
I. Legal Standard

“Under Rule 56(a) of the Federal Rules of Civil Procedure, summary judgment is appropriate
only ‘if the movant shows that there is no genuine dispute as to any material fact and the movant is
entitled to judgment as a matter of law.’ The moving party bears the burden of showing that there 1s
no genuine dispute of material facts.” John ¢» Cher v. Howard Bank, 2021 WL 2226195, *2 (D. Md. June
2, 2021) (citation omitted). BofA does not establish absence of a genuine dispute of material fact
supporting summary judgment here. First, its Background 1s rife with unsubstantiated or false facts
that do not satisfy Fed. R. Civ. P.’s 56 mandate that “[a] party asserting that a fact cannot be...
disputed must support the assertion by: (A) citing to particular parts of materials in the record . . . or
(B) showing that the materials cited do not establish the absence . . . of a genuine dispute, or that an
adverse party cannot produce admissible evidence to support the fact.” See Fed. R. Civ. P. 56(c)(1)(A)-
(B). And the facts BofA does offer with citation to the evidentiary record are immaterial to the
dispositive legal issues. See Fed. R. Civ. P. 56(a). “In ruling on a motion for summary judgment, a court
must view all of the facts, including reasonable inferences to be drawn from them, ‘in the light most
favorable to the party opposing the motion.” John ¢» Cher, 2021 WL 2226195 at *2 (citation omitted).
II. Section 12-109 Affords a Private Right of Action to Ms. Clark.

BofA is wrong to claim that there is no private right of action for violations of § 12-109. The

 

° If the Court is inclined to give any weight to BofA’s argument that pre-2010 communications with
Plaintiff can be contrasted with post-2010 communications, Plaintiff respectfully asks that the Court
allow discovery into BofA’s pre-2013 communications, which BofA has to date refused to produce
based on an improper claim of privilege. See znfra n.6.

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three-part test for finding an implied private right of action is satisfied here. That test requires this
Court to consider (1) whether Ms. Clark is ““one of the class for whose []special benefit the statute
was enacted”; (2) whether there is “any indication of legislative intent, explicit or implicit, either to
create such a remedy or to deny one”; and (3) whether it is “consistent with the underlying purposes
of the legislative scheme to imply such a remedy for the plaintiff.” Scud v. Groover, 435 Md. 112, 121-
22 (2013) (internal citation omitted).

A. Section 12-109 Was Enacted for the Special Benefit of Maryland Borrowers.

BofA does not dispute that Ms. Clark is a member of the class for whose special benefit § 12-
109 was enacted. Mot. at 9. She is so because Maryland’s General Assembly enacted a law requiring a
certain class of residential borrowers, including Ms. Clark, to be paid interest on their escrow account
balances. This is not a case where a litigant is seeking to have a court imply a private right of action
for “a statute that was designed to confer only a general benefit on the public at large.” Staley ».
Americorp Credit Corp., 164 F. Supp. 2d 578, 580 (D. Md. 2001). ‘Thus, the cases that BofA cites, where
the Assembly simply passed a law of general public benefit, are distinguishable.”

“If a statute’s language provides a right to a particular class of persons, there is a strong inference
that the legislature intended the statute to carry an implied cause of action.” Baker, 427 Md. at 711
(emphasis added). Here, lending institutions are required to pay a direct monetary benefit to Maryland
borrowers whose loans are secured by a first deed of trust on residential real property where the lender

requires an escrow account. BofA admits that the General Assembly imposed requirements for the

 

"' See Fangman v. Genuine Title, LLC, 447 Md. 681, 721-22, 725 (Ct. App. 2016) (finding no private right
of action because anti-kickback law “does not, and was not intended or designed to, protect a specific
class of persons”); Baker v. Montgomery Cty., 427 Md. 691, 697 (Ct. App. 2012) (“general welfare statute
that does not benefit a particular class of persons, let alone Petitioners”). In contrast, the court in Staley
found that a “comprehensive licensing scheme” was “designed to protect [a] sub-group of the public”
because it was “meant to protect borrowers.” Sia/ey, 164 F. Supp. 2d at 581 (internal citation omitted).
So too, § 12-109 was enacted to protect borrowers who directly benefit from escrow interest they are
entitled to receive.
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administration of escrow accounts, particularly the payment of interest to borrowers at a prescribed
rate, yet feigns that no special benefit is created by § 12-109. Mot. at 9.7 BofA is wrong. Indeed, the
Maryland Attorney General has stated that this requirement creates “statutorily granted rights [that]
are inherent in the mortgage.” 59 Opinions of the Attorney General 458, 464 (1974). Ms. Clark fits in
the § 12-109 class of borrowers who directly benefit from the interest credited to their escrow
accounts. The first factor is satisfied.

B. There is Implicit Intent to Imply a Remedy for Maryland Borrowers.

As to the second factor, “[c]ourts discern . . . whether a private cause of action was intended
by analyzing the language of the statute to identify its purpose and intended beneficiaries, reviewing
the statute’s legislative history, and determining whether the statute provides otherwise an express
remedy.” Fangman, 427 Md. at 710. Ms. Clark acknowledges § 12-109 does not expressly state that a
private cause of action exists. However, as even BofA acknowledges, “legislative silence is not
conclusive.”’ Mot. at 9 (quoting Sc#//, 435 Md. at 123)). There is also no express legislative intent to
deny such a private right of action to consumers or any indication in the statute that the legislature
intended the Attorney General, rather than consumers, to enforce the escrow interest rights conferred
by the statute. Surely the legislature intended there to be some mechanism for the statute to be
enforced. Otherwise, lenders could ignore the General Assembly’s command with impunity. See 75
Md. Op. Atty. Gen. 223 (1990) (“The escrow interest requirement was intended as a pro-consumer
provision permitting borrowers to derive at least some benefit from idle funds previously invested
wholly for the benefit of the lender.”’). Indeed, there is no better example than this case as to why a

private right of action is needed to vindicate the legislature’s intent given that BofA continues to

 

* In contrast, the anti-kickback law at issue in Fangman only indirectly benefited consumers. 447 Md.
at 704-705 (“For example, the prohibition in RP § 14-127(c)(1) is not phrased along the lines of “all
consumers of settlement services have the right to have kickback-free settlement services.”’).

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blatantly flout Maryland law despite this Court’s order rejecting BofA’s preemption defense.
Furthermore, the structure of the relevant subtitle of the Maryland Code supports implying
such a right. Subtitle 1 of Title 12 of the Maryland Code independently regulates the znterest that borrowers
pay to lenders, and it separately addresses the interest that lenders must pay to borrowers with escrow accounts
in three statutes: Md. Code § 12-109, § 12-109.1, and § 12-109.2. In 1990, the Maryland Attorney
General addressed the structure of Subtitle 1:
Chapter 420 included two additional provisions. The first required all banks and thrift

institutions to pay interest on certain first mortgage escrow accounts after June 1, 1974,
the provision now found at CL § 12-109.

The escrow interest requirement was intended as a pro-consumer provision permitting borrowers

to derive at least some benefit from idle funds previously invested wholly for the benefit of the lender.

The Attorney General stated that this requirement creates “statutorily granted rights

[that] are inherent in the mortgage.” 59 Opinions of the Attorney General 458, 464

(1974).

75 Md. Op. Atty. Gen. 223 (1990) (emphasis added).

The Court should thus reject BofA’s comparison to the express statutory usury remedy in
Subtitle 1 applicable to the interest that borrowers pay lenders. Mot. at 10 (Md. Code Ann., Com. Law
§ 12-114). When the lender fails to pay the borrower the statutorily required escrow interest, the “pro-
consumer provision permitting borrowers to derive at least some benefit from idle funds previously
invested wholly for the benefit of the lender” should afford those borrowers a statutory remedy. 75
Md. Op. Atty. Gen. 223. As noted above, the escrow account statutes in Subtitle 1 operate
independently of the other statutes in that subtitle.

C. Implying a Private Right of Action is Consistent With the Legislative Scheme.

The final factor also supports finding a private right of action. BofA basically ignores this

factor. Section 12-109’s purpose is to compensate borrowers who are required by their lenders to

escrow funds. Lenders want to ensure property taxes and insurance are paid, making borrower funds

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idle until the lender pays them. 75 Md. Op. Atty. Gen. 223. When the borrower is not paid statutorily
required interest, as here, a private night of action should exist. It is entirely consistent with the
legislative scheme.

Contrast § 12-109’s direct focus on the lender-borrower relationship with what the Maryland
Court of Appeals observed in Scx#//, where it did not find an implied private right of action for an
HMO.-insured to challenge balance billing. As the court explained, the statutory scheme at issue in
Scull “largely concern[ed] the structure and operation of health maintenance organizations, not the
billing practices of health care providers. In that sense, the statute is intended to confer a general
benefit on the public at large by providing a foundation for a particular form of health care coverage.”
435 Md. at 123.” Here, by contrast, § 12-109 is not concerned about the broader structure of lending
institutions, but about a duty flowing from lenders to borrowers in the context of certain residential
mortgages. A private cause of action is perfectly consistent with that.

Indeed, an implied private right of action is especially consistent with the legislative scheme
because there exists no other remedy. In Fangmwan, the court found from the “plain language and
legislative history, we have no difficulty in concluding that [anti-kickback law’s] purpose was criminal
in nature, and not to create an implied private right of action on behalf of a specified protected class
of individuals.” 447 Md. at 716 (violation of statute is a misdemeanor). Unlike in Fangman where the
statute was clearly intended to be enforced through criminal proceedings, § 12-109 is not a criminal
law. In the absence of implying a private right of action, there would be xo mechanism for enforcing §
12-109’s command. “Principles of statutory interpretation do not require us to apply the text of a
statute rigidly where that application leads to absurd or inconsistent results.” Kemp v. Nationstar Mortg.

Ass'n, 248 Md. App. 1, 28 (Ct. Spec. App. 2020). Kemp specifically recognized an implied right of action

 

© Notably, the Sc#/ court recognized that HMO members could bring an action under Maryland’s
Consumer Protection Act to enforce the violation of the balance billing prohibition. 435 Md. at 132.

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“against assignees, endorsees, or transferees who receive the debt with notice of usury, insofar as it
prohibits a civil claim or plea of usury against assignees, endorsees, or transferees of a debt if they
received the debt instrument »#hout notice of usury in the instrument’s creation or assignment.” Id. at
18 (emphasis in original).

Based on the foregoing, the Court should conclude that Ms. Clark has a § 12-109 claim.
Indeed, given that, as BofA concedes, legislative silence alone is insufficient to conclude no private
right of action exists, it is difficult to imagine another statute silent on its face where the factors more
clearly weigh in favor of finding such a right.

III. BofA is Not Entitled to Summary Judgment on Plaintiffs MCPA Claim.

To state a Maryland Consumer Protection Act (““MCPA”) claim, a plaintiff must allege “(1) an
unfair or deceptive practice or misrepresentation that is (2) relied upon, and (3) causes them actual
injury.” Ayres v. Ocwen Loan Servicing, LLC, 129 F. Supp. 3d 249, 270 (D. Md. 2015). The Court has
already determined that BofA’s failure to pay interest on escrowed funds satisfies all three elements.
See ECF No. 39 at 19. As the Court recognized in denying BofA’s motion to dismiss, Plaintiff asserts
that “BofA agreed, in the Deed of Trust, that it would ‘comply with applicable state and federal law,”
yet “sent a separate notice stating that it was not required to pay interest on escrow accounts.” Id. at
19-20 (quoting Complaint, ECF No. 34 at 28). The Court further recognized that “if BofA failed to
uphold its legal obligation to pay interest on escrow accounts, then the periodic statements issued to
Plaintiff may have misstated or inflated her level of indebtedness.” Id. at 20. In other words, Plaintiff
plausibly “allege[s] that BofA was well-aware of its legal obligation to pay interest and, despite this
knowledge, supplied contradictory information to consumers via the Deed of Trust, separate notice,
and periodic account statements” and that Plaintiff “relied on the misrepresentation by continuing to
pay the incorrect amounts, thereby causing actual injury.” See ECF No. 39 at 20-21. BofA raises several

arguments why it is nevertheless entitled to summary judgment on Plaintiffs MCPA claim.

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None ate persuasive.

A. Plaintiff Has Not Waived or “Disavowed” Omission-Based Claims or Affirmative
Misrepresentation-Based Claims Based on BofA’s Periodic Statements.

BofA asserts that Plaintiff cannot proceed on an omission theory because she did not include
an omission theory in her complaint. Mot. at 11 (citing Casey ». Geek Squad Subsidiary Best Buy Stores,
LP, 823 F.Supp.2d 334, 359 (D. Md. 2011).’* But in so arguing, BofA ignores Plaintiffs allegations,
which clearly allege that BofA failed to include (.e., omitted) the interest it owed to consumers in its
periodic statements. See, ¢.g., Complaint, ECF No. 1 973 (“[A]s part of its scheme, BofA knowingly
and intentionally sends . . . monthly and other periodic statements to borrowers that are false or
misleading because they do not include applicable interest amounts on escrowed funds” (emphasis
added)”); zd at § 74 (“Further, as part of its scheme, BofA knowingly and intentionally
sends... monthly and other periodic statements to borrowers that are false or misleading because
they do not accurately reflect off-setting amounts of escrow interest owed by BofA to borrowers.”
(emphasis added)).

BofA next falsely asserts that Plaintiff cannot proceed on either an omission-based theory” or
an affirmative misrepresentation-based theory premised on BofA’s account statements or escrow

statements because Plaintiff “disavowed” them in discovery, such that Plainuffs MCPA claim now

 

“ Even if Plaintiff failed to articulate an omission theory of liability in her complaint (she did), BofA’s
reliance on Casey is misplaced. In that case, the plaintiff purported to assert an entirely new cause of
action in its summary judgment briefing without seeking leave of court to amend the complaint. Here,
the Complaint clearly asserts a claim under the MCPA and alleges the factual basis for that claim,
regardless of whether one characterizes the theory of liability as affirmative misrepresentation-based,
omission-based, or both.

S BofA also argues that any omission-based state law claim would be preempted. Mot. at 11 n.2 (citing
12 C.F.R. § 34.4 (“A national bank may make real estate loans ... without regard to state law limitations
concerning ... Disclosure and advertising....”). However, that regulation specifically provides that
state laws concerning “Torts” (.e., consumer fraud laws) are “not inconsistent with real estate lending
powers of national banks and apply to national banks to the extent consistent with [Barnett Bank].” 12
C.F.R. § 34.4(b)(2).

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tests “exclusively” on her Deed of Trust. Mot. at 11-12, n.3. But far from disavowing Plaintiff's
allegations, Plaintiffs discovery response explicitly incorporated the allegations by reference. See Def.’s
Exhibit 13 at 5 (“Plaintiff further refers Defendant to the well-pleaded allegations in her Complaint”).
BofA likewise mischaracterizes Plaintiff's testimony. Plaintiff was not asked whether she was pursuing
an omission-based theory of liability (a question of legal strategy more appropriately addressed to
counsel than a class representative in the first place). Rather, during a particularly argumentative line
of questioning, BofA asked Plaintiff to identify specific “statements” or “representations” BofA made
that she thought were false or misleading. Ex. 1, Clark Dep. 146:14-19. Plaintiff responded, “there is
a law that the bank is supposed to pay interest on escrow” and that “if you do business with a bank
and the bank represents that it’s going to follow the law in the state where you are doing business and
it does not, then that’s misleading. ...” Id. at 147:5-9. Unsatisfied by Plaintiff's answer, BofA asked
“how exactly did [BofA] engage|] in deceptive acts or practices.” Id. at 149:13-16 (emphasis added).
Plaintiff responded, “I would have to leave that to an attorney to describe according to what is written
in the law. I don’t think I can articulate that.” Id. at 149:18-20.

Nor did Plaintiff “admit[]” that her account statement was accurate, as BofA suggests. Mot.
at 12 n. 3. Rather, she testified that she “assume[d] it’s accurate. The payments, the numbers, I have
to assume it’s accurate....” Clark Dep. 151:14-16. See also id. at 152:1-4 (“I never had a reason to
question the, what was set forth on the statement as far as being accurate. The numbers are probably
accurate, the dates.”). When read in proper context, it is clear that Plaintiff testified that she had no
cause to question the specific “numbers” and “dates” related to her “payments” reflected on the
statements when she received them. She did not “disavow” her allegation that the statements were

misleading insofar as they failed to include applicable interest owed on escrowed funds.’

 

“6 BofA similarly mischaracterizes Plaintiffs testimony when it asserts that she “testified that she never
received [the Notice Concerning Your Account].” Mot. at 11. Plaintiff testified that she was not sure
whether she received it and that it was not in her files, not that she definitively never received it. See

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B. Plaintiffs MCPA Claim Does Not Rest on a “Mere” Breach of Contract.

BofA argues that its failure to pay interest is merely a breach of contract and that “a breach-
of-contract cannot give rise to an MCPA claim.” Mot. at 12. As a threshold matter, neither of the
cases BofA cites support such a proposition. See Hebbler v. First Marine Bank, 2018 WL 3818855, at *7
(D. Md. Aug. 10, 2018) (dismissing MCPA claim for failure to comply with Fed. R. Civ. P. 9(b)’s
heightened pleading standard where plaintiff failed to allege how, where, or when the defendant lender
allegedly promised to apply forbearance agreement payments to mortgage balance); Bezmenova v. Ocwen
Fin. Corp., 2013 WL 386948, at *6 (D. Md. July 23, 2013) (dismissing MCP.A claim for failure to comply
with Fed. R. Civ. P. 9(b)’s heightened pleading standard where plaintiffs failed to allege details
regarding who precisely made the alleged misrepresentations or how they induced the plaintiff to make
a harmful consumer choice). Indeed, fraud claims often arise from contractual relationships. See, ez,
Maryland Civil Pattern Jury Instructions 11:1 (5th ed.), Comment 3 (“Fraud can arise out of an existing
contract relationship as where a party to a contract is induced to take or refrain from taking an action
which that patty has a right to take.” (citing Bocchini v. Gorn Mgmt Co., 69 Md. App. 1 (1986))."”

Plaintiff asserts more than just a mere breach of contract. She accurately contends that BofA
engaged in an unfair or deceptive practice by entering into an agreement requiring BofA to “comply
with applicable state and federal law” without the intention of doing so, and then sending Plaintuff

misleading and inflated periodic statements inducing her to overpay on her loan. “Although an action

 

Clark Dep. 110:14-16 (“Q: Have you seen this document before today? A: I don’t know.”); 111:5-8
(“Q: Do you recall whether this document was given to you when you closed on your 2013 mortgage
loan? A: I do not.”).

"” See, ¢.g., Bocchini, 69 Md. App. at 21 (“Where a dispute occurs with respect to a term or condition or
the nature or adequacy of the performance required and one party knowingly makes a false statement
of his intention to perform, intending thereby to induce the other to take or refrain from taking some
action that he has a right to take or not to take under the circumstances, we see no reason why such a
false statement cannot serve as the basis of an action for deceit....”); Sdacum v. Trust Co., 163 Md. 350,
352-53 (1932); Sonnenberg v. Sec. Mgmt. Corp., 325 Md. 117 (1992) (reversing dismissal of MCPA and
breach of contract claims based on seller’s failure to disclose).

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for fraud may not rest on a statement about future events, a person may commit fraud if he or she
enters an agreement to do something, without the present intention of performing.” Maryland Civil
Pattern Jury Instructions 11:1 (5th ed.), Comment 6 (citing First Union Nat'l Bank v. Steele Software Sys.
Corp., 154 Md. App. 97, 134-135 (2003) (a party’s conduct in entering a contractual commitment to
use “best efforts,” without intent to perform, can be the basis of an action for fraud). See also Hall’s
Reclamation, Inc. v. Apac Carolina, Inc., 103 F.3d 117 (4th Cir. 1996) ( “While a mere violation of a
contract does not support a fraud claim ..., entering into a contract without the present intention of
rendering performance under the contract does....” (internal quotes and cites omitted)). Here, the
evidence shows BofA promised to comply with applicable state law having no intention of complying
with § 12-109. That is fraud.

C. Plaintiffs MCPA Claim Does Not Rest on an Innocent Mistake of Law.

BofA next asserts that a mistake of law cannot give rise to an MCPA claim. Mot. at 13.
However, “the law has outgrown the over-simple dichotomy between law and fact in the resolution
of issues in deceit.” Nat? Conversion Corp. v. Cedar Bldg. Corp., 23 N.Y.2d 621, 627 (1969) (citing
Restatement (First) of Torts § 545 (1938)). Today, courts recognize that “[i]f a misrepresentation as
to a matter of law includes, expressly or by implication, a misrepresentation of fact, the recipient is
justified in relying upon the misrepresentation of fact to the same extent as though it were any other
mistepresentation of fact.” Restatement (Second) of Torts § 545 (1977). See also 37 Am. Jur. 2d Fraud
and Deceit § 104 (“A representation of mixed law and fact may constitute the basis for an action in
fraud if it amounts to an implied assertion that facts exist that justify the conclusion of law which is
expressed and the other party would ordinarily have no knowledge of the facts.”). “Thus the statement
that the maker has good title to land, although in form one of a legal conclusion, ordinarily will be
understood to assert the existence of those conveyances or other events necessary to vest good title

in him.” Restatement (Second) of Torts § 545 (1977), Comment c. “So likewise a statement that one

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mortgage has priority over another may imply an assertion that one was made before the other; and a
statement that a corporation has the legal right to do business in a state may carry with it an assurance
that it has as a matter of fact taken all of the steps necessary to be duly qualified.” Id."

Accordingly, when BofA represented that it would follow all applicable state laws and then
later represented that it was not required to pay escrow interest, those statements amounted to an
implied assertion that facts exist that justify BofA’s conclusion of law. See, ¢.g., Travis v. Knappenberger,
204 F.R.D. 652 (D. Or. 2001) (refusing to dismiss fraud claim based on allegations that employer
knowingly misrepresented to plaintiffs that there were independent contractors); Wa/Mart Stores, Inc.
v. AIG Life Ins. Co., 901 A.2d 106 (Del. 2006) (plaintiff purchaser of life insurance policies for tax
benefits stated fraud claims against life insurers for failing to disclose that policies would not achieve
tax benefits (even though policyholder stated in letter of understanding that policyholder relied on its
own tax advisors) because the failure to inform policyholder that the plans deviated from industry
standards was misrepresentation of implied fact); Nagashima v. Busck, 541 So. 2d 783, 784 (Fla. Dist.
Ct. App. 1989) (seller’s statement that the property complied with all local ordinances was primarily
misrepresentation of fact, not law).

Even a statement of pure legal opinion may be actionable where, as here, the statement 1s
material and the party making the representation purports to have “special knowledge” or has reason

to expect that the recipient will rely on the opinion. See Restatement (Second) of Torts §545(2);

 

"8 See also Restatement (Second) of Torts § 545 (1977), Comment B (“A statement that a statute has
been enacted or repealed or that a particular court has decided thus and so on a particular state of
facts is as much a representation of fact as a statement that an automobile has a steering gear of a
specified pattern.... The rules that determine the liability for a fraudulent misrepresentation of these
matters of law are the same as those determining liability for the fraudulent misrepresentation of any
other fact.”’); zd. at Illustration 2 (“‘A, seeking to sell frozen fish to B, fraudulently informs B that there
is no legal maximum price on frozen fish. B reasonably understands A to assert that government
authorities regulating prices have not established any maximum price for the commodity, although
they have in fact done so. In reliance on the implied assertion, B buys the fish from A and suffers
pecuniary loss. A is subject to liability to B.”).

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Restatement (Second) of Torts § 542. In other words, “[a] representation of domestic law may
constitute fraud where it is accompanied by some inequitable conduct on the part of the person
making it which induces the other party to rely and act thereon.” 37 Am. Jur. 2d Fraud and Deceit §
103. “[R]elief may be granted because of such a misrepresentation where there 1s a relation of trust
and confidence between the parties or where the speaker has, or professes to have, superior knowledge
of the law.” Id. “Thus the ordinary layman dealing with a real estate or insurance agent may be justified
in relying upon the agent to know enough about real estate or insurance law to give a reliable opinion
on the simpler problems connected with it.” Restatement (Second) of Torts § 545 (1977), Comment
d. See also, ¢.g., Scott v. Bodor, Inc. 571 N.E.2d 313, 320 (Ind. Ct. App. 1991) (recognizing that while
misstatements of law generally do not form basis for fraud claim, “special skill or knowledge”
exception applied to defendant insurance agent). Here, when a national mortgage lender like BofA
tells a layperson like Plaintiff (1) that BofA will comply with all applicable state law and (2) that
Maryland state law does not require BofA to pay escrow interest, the layperson is justified in relying
on those statements.

BofA nevertheless contends that it “‘cannot be liable under the MCPA for asserting a legal
position on a novel issue of law, which turned out to be incorrect.” Mot. at 13 (quoting Chavis ».
Bhbaum Assoc., PA., 246 Md. App. 517, 535 (2020)). As a threshold matter, opinions of the Maryland
Court of Special Appeals are not “controlling appellate decisions.” Ad/state Ins. Co. v. Pitts, 2019 WL
1980287, at *2 (D. Md. May 3, 2019). And there is substantial basis for questioning whether Chavis
accurately reflects Maryland law insofar as the Court of Appeals has granted certiorari to review it. See
Chaus v. Bhbaum ¢» Assoc., PA., 471 Md. 100 (2020). Presumably, if the Court of Appeals found the
lower court’s reasoning sound, it would not have bothered accepting the appeal.

More fundamentally, Chavis is distinguishable because BofA’s refusal to pay escrow interest

does not involve a “novel issue of law.” Whatever uncertainty that might have previously existed as

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to the congressional intent regarding the applicability of state escrow interest laws like § 12-109 to
national banks was eliminated in 2010 when Congress enacted 15 U.S.C. § 1639d(g)(3), which
provides: “If prescribed by applicable State or Federal law, each creditor shall pay interest to the consumer on the
amount held in any impound, trust, or escrow account that 1s subject to this section in the manner as prescribed by that
applicable State or Federal law.” 15 U.S.C. § 1639d(g)(3) (emphasis added). Congress’s enactment of
Section 1639d(g)(3) removed any possible doubt that enforcement of state escrow interest laws is fully
consistent with (and not in conflict with) national banks’ powers as Congress intends those powers.
Certainly, no compelling showing can be made that Congress intended for § 12-109 to be preempted
when the language of Dodd-Frank confirms the exact opposite. BofA’s argument—that § 12-109 is
preempted because § 12-109 is not “applicable” because § 12-109 is preempted—is entirely circular.
It also renders § 1639d(g)(3) a legal nullity because if all state escrow interest statutes are preempted
as BofA contends, then there are no “applicable” state escrow interest statutes, and § 1639d(g)(3)
would never apply to anything. See Marx v. Gen. Revenue Corp., 568 U.S. 371, 392-93 (2013) (“Under
this most basic of interpretative canons, . . . [a] statute should be constructed so that effect 1s given to
all of its provisions, so that no part will be inoperative or superfluous, void or insignificant.” (citations
and internal quotation marks omitted)).

Tellingly, multiple federal courts—including the Ninth Circuit—have rejected BofA’s
preemption argument; yet BofA continues to flout state mortgage escrow interest statutes. Again,
BofA should have started paying escrow interest upon passage of § 1639d(g)(3). Instead, BofA
continued to withhold escrow interest through the present, and that decision (which it sustained even
after two other courts rejected its preemption argument) erases any possibility that it is merely a good
faith actor trying its best to interpret the law.

If the Court is inclined to give any weight to BofA’s mistake of law argument, Plainuff

respectfully requests discovery into BofA’s privileged communications to test this defense. BofA’s 97-

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page privilege log is rife with communications that BofA describes as containing legal advice regarding
federal preemption. BofA withheld these as attorney-client and/or work product privileged despite its
corporate representative’s deposition admission that the decision to cease paying escrow interest was
a financial one made “from a cost perspective.” See Background supra. This testimony alone should be
enough to reject BofA’s defense, but BofA’s innocent mistake of law argument directly puts at issue
its related privileged communications.

This Court should thus find BofA waived these privileges over related documents by
proffering such a defense, one that is akin to a good faith or reliance on counsel defense. See, ¢.g., Teal
Bay Alkances, Inc. v. Southbound One, Inc., 2014 WL 1630211, at *2 (D. Md. Apr. 21, 2014) (“When a
party asserts an advice of counsel defense, it waives the attorney-client privilege with respect to all
communications to and from counsel concerning the transaction for which counsel’s advice was
sought.”” (internal citation omitted)); see zd. at *2 (“the assertion of an advice-of-counsel defense can
also waive work-product immunity”). See also Wilhams v. Big Picture Loans, LLC, No. 3:17-CV-461, 2019
WL 1983048, at *8-9 (E.D. Va. May 3, 2019) (suggesting a party may expressly or implicitly waive the
privilege “by arguing that he had a good faith belief that he was following the law”); United States v.
Cohn, 303 F. Supp. 2d 681 (D. Md. 2003) (“when a party ‘raises an issue which can only be effectively
rebutted by inquiry into an attorney-client communication,’ the ‘advice of counsel’ is placed at issue
and attorney client privilege is typically deemed waived” (internal citation omitted)).

This Court should not let BofA propagate unchecked “as a sword to prove [its] case” its
assertion that it acted and communicated to consumers in good faith its preemption position based
on the advice of counsel, while at the same time assert privilege over related communications “as a
shield to prevent disclosing harmful information.” United States v. Buckingham, 301 F. Supp. 3d. 547,
558 (D. Md. 2018); see also Baltimore Scrap Corp. v. David J. Joseph Co., No. L-96—827, 1996 WL 720785,

at *24 (D. Md. 1996) (privilege is justifiably waived when it would be inequitable to permit party to

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use it as a sword and shield). This is especially so because “the privilege is not favored by federal courts
and is to be strictly confined within the narrowest possible limits consistent with the logic of its
principle.” (internal citation and quotation marks omitted)). In re Grand Jury Subpoena: Under Seal, 415
F.3d 333, 338-39 (4th Cir. 2005). In sum, it would be illogical to let BofA exploit the attorney-client
and work-product privileges by arguing a mistake of law defense in its Motion but mask
communications key to understanding its credibility.

The law is clear and has been clear for more than a decade, but BofA dogmatically refuses to
comply. That is an unfair or deceptive practice proscribed by the MCPA.

D. Plaintiffs MCPA Claim is Not Barred by Statute of Limitations.

As the Court previously recognized, “at a minimum,” Plaintiff states an actionable cause of
action for violation of the MCPA in connection with periodic statements issued in “the three years
immediately preceding the filing of this lawsuit.” ECF No. 39 at 21. That is because “each
misrepresentation by a defendant is a new violation of the MCPA ... for the purpose of the statute of
limitations analysis.” Ayres v. Ocwen Loan Servicing, LLC, 129 F. Supp. 3d 249, 272 (D. Md. 2015); see
also Mitchell v. U.S. Bank Nat'l Ass'n, No. CV PX-17-1805, 2018 WL 4679949, at *6 (D. Md. Sept. 28,
2018) (same). Thus Plaintiffs MCPA claim is not barred by the statute of limitations, as BofA
maintains.

BofA nevertheless contends that Plaintiff “should have realized that [BofA] would not pay her
interest on her escrowed funds by the time she received her first escrow account statement in August
2014, more than four year before she filed this lawsuit.” Mot. at 16. But Plaintiff did not so realize
(nor does BofA point to any evidence otherwise).

Regardless, BofA fails to take into account the continuing harm doctrine, which tolls the
statute of limitations in situations where there are ongoing violations of a potential plaintiffs rights.

MacBride v. Pishvaian, 402 Md. 572, 937 A.2d 233, 235 (2007). Under this doctrine, “violations that are

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continuing in nature are not barred by the statute of limitations merely because one or more of them
occurred earlier in time.” Id. at 584. In MacBride, the plaintiff brought a claim against her landlord for
damages stemming from the poor living conditions of the apartment she rented from him. Id. at 575-
76. At issue was whether the plaintiff's MCPA claim was barred by the three-year statute of limitations.
Id. at 576. Finding that the doctrine did not apply to the plaintiffs claim, the court explained that
“[clontinuing violations that qualify under this theory are continuing unlawful acts, for example a
monthly over-charge of rent, not merely the continuing effects of a single earlier act.” Id. at 584
(distinguishing 78/79 York Assocs. v. Rand, 175 Misc. 2d 960, 672 N.Y.S.2d 619 (1998) (tenant’s claim
for rent overcharge accrues on ongoing basis with each month’s payment of unlawful rent)). Unlike
the Rand plaintiff who alleged he was overcharged on a monthly basis, the MacBnde plaintiff sought
damages arising from the deteriorating condition of her apartment—“the continuing z/ effects from the
original alleged violation, and not a series of acts or course of conduct....” Id. at 585 (emphasis in
original). Because the only qualifying misstatements were made at the lease’s inception and there were
no ongoing unlawful acts, the continuing harm doctrine did not apply.

Here, however, Plaintiff does not allege continuing effects of a single earlier act as in MacBride.
Rather, she seeks to recover overcharges that accrued on an ongoing monthly basis due to BofA’s
ongoing course of conduct of sending misleading statements. See also Dave ¢ Buster's, Inc. v. White Flint
Mall, LLP, 616 Fed. Appx. 552, 556-57 (4th Cir. 2015) (distinguishing MacBride and finding continuing
harm doctrine applicable under Maryland law: “The situation here does not involve the ‘continuing
effects of a single earlier act.’.... but rather an adverse course of conduct that Dave & Buster’s engaged
in every day the competing facility was open for business .. . .” (emphasis in original)); Forest Capital,
LLC ». Pearsall, 725 Fed. Appx. 239, 240 n.* (4th Cir. 2018) (citing Ltr —“which discuss[es] tolling of
statute of limitations for continuous tortious actions under Maryland law”’—to “note that because

Forest Capital’s claim of tortious interference stems from allegations of Pearsall’s continuous course

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of conduct in violation of the parties’ February 21, 2014 settlement agreement, the statute of
limitations is tolled’’). Accordingly, the continuing harm doctrine applies and the statute of limitations
is tolled.

As for BofA’s argument that Plaintiff should have realized that BofA would not pay her
interest on her escrowed funds by the time she received her first escrow account statement in August
2014, it is of no import. The Court of Appeals of Maryland has expressly “disavowed” as dicta language
in McBride suggesting that the continuing harm doctrine does not toll the statute of limitations where
the plaintiff knew or should have known of the injury or harm sooner:

This dictum in MacBride effectively—and inadvertently—eliminated the continuing

harm doctrine. The purpose of the continuing harm doctrine is to avoid punishing a

plaintiff “because one or more [violations] occurred earlier in time” ... when such

violations “are continuing in nature.” 402 Md. at 584, 937 A.2d at 240; see, ¢.g., Shell Oi!

Co. v. Parker, 265 Md. 631, 634-36, 291 A.2d 64, 66-67 (1972) (holding that where

Plaintiffs’ harm, which had persisted for five or six years and which Plaintiffs knew

about for that duration, was “continuing in nature” and their right to bring suit was

“not barred by the three year Statute of Limitations for the continuing violation during

the three year period prior to the filing of the action”). A potential plaintiff's

knowledge of the harm, therefore, is inconsequential. To be sure, “the discovery

tule does not impede the operation of the continuing-tort doctrine[,]” Rhodes ». EI. du

Pont de Nemours ¢» Co., 657 F.Supp.2d 751, 761 (S.D.W.Va.2009), aff'd in part, appeal

dismissed in part, 636 F.3d 88 (4th Cir. 2011), and the continuing harm doctrine tolls

the statute of limitations regardless of a potential plaintiff's discovery of the

wrong.

Litg v. Maryland Dep't of Env't, 434 Md. 623, 647 n.9 (2013) (emphasis added). Because the continuing
harm doctrine applies regardless of whether Plaintiff knew or should have known that BofA would
not pay interest, BofA’s argument fails.

E. Plaintiff Relied on BofA’s Deceptive Conduct By Making Monthly Payments.

BofA’s reliance argument fares no better. As explained in Plaintiffs class certification briefing,
each deed of trust contains the same material terms requiring BofA to comply with Maryland law,

which uniformly required BofA to pay escrow interest. Yet, BofA sent periodic account statements to

Plaintiff and the Class members that failed to include applicable interest amounts owed. See ECF No.

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41 4 71 (‘Bank of America admits that its periodic statements to Plaintiff and some other mortgage
borrowers do not reflect the payment of interest on the funds held in certain mortgage escrow
accounits.”). Because the statements failed to accurately reflect off-setting amounts of escrow interest
owed by BofA, they misstated and inflated Plaintiffs and the Class members’ level of indebtedness
and were therefore false and misleading. By making the inflated payments reflected on misleading
statements, Plaintiff and each Class member necessarily relied on BofA’s deceptive conduct and were
financially harmed.

Apart from arguing unpersuasively in a footnote that Plaintiff “disavowed” any MCPA claim
based on the monthly statements, Mot. at 12 n.3, BofA fails to address Plaintiffs theory of reliance.
This is especially curious considering the Court has already found it sufficient to support an MCPA
claim. See ECF No. 39 at 20-21 (denying motion to dismiss MCPA claim, noting that Plaintiff alleges
that she “relied on the misrepresentation by continuing to pay the incorrect amounts, thereby cause
actual injury”). Instead, BofA’s moving papers focuses on a red herring, arguing that Plaintiff's primary
motivation in choosing to obtain a mortgage from BofA was the loan’s interest rate, not escrow
interest. Mot. at 17-18. Because Plaintiff necessarily relied on the misleading statements by making the
inflated payments, reliance is satisfied.”

IV. BofA is Not Entitled to Summary Judgment on Plaintiffs Breach of Contract Claim.

A. The Notice-And-Cure-Provision Is Inapplicable To Plaintiffs Claims.

BofA also erroneously asserts that Plaintiff's contract claim must be dismissed for failure to

provide a formal notice-and-cure. But notice-and-cure 1s inapplicable to Plaintiffs breach-of-contract

 

” Notably, as BofA’s own authority recognizes, “a consumer relies on a material omission under the
MCPA where it is substantially likely that the consumer would not have made the choice in question
had the commercial entity disclosed the omitted information.” Hebbeler v. First Mariner Bank, No. CV
ELH-17-3641, 2018 WL 3818855, at *7 (D. Md. Aug. 10, 2018). Whether a misrepresentation
substantially induces a consumer’s choice is ordinarily a question of fact for the trier of fact. Bank of
Am., NLA. ». Jill P. Mitchell Living Tr., 822 F. Supp. 2d 505, 532 (D. Md. 2011).

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claim for the same reason it is inapplicable to her other claims. BofA acknowledges that such
provisions are inapplicable to statutory claims, such as Plaintiffs MCPA claim and § 12-109(b) claim.
See Richards v. NewRez LLC, 2021 WL 1060286, at *21 (D. Md. Mar. 18, 2021); Stovall v. SunTrust Mortg.,
Inc., 2011 WL 4402680, at *7 (D. Md. Sept. 20, 2011). This is because “claims that exist independent
of a contractual agreement between the parties, such as allegations of deceptive trade practices, are
not subject to the notice and cure provisions that might otherwise apply.” Rzchards, 2021 WL 1060286,
at *21; see also Schmidt v. Wells Fargo Home Mortg., 2011 WL 1597658, at *3-4 (E.D. Va. Apr. 26, 2011,
aff'd, 482 F. Appx. 868 (4th Cir. 2012) (“notice-and-cure provisions do not extend to claims based on
deceptive business practices”).

To that end, for this same reason, the notice-and-cure provision is also not applicable to
Plaintiff's contract claim. Plaintiffs deed of trust provides that:

Unless an agreement is made in writing or Applicable Law requires interest to be paid
on the Funds, Lender shall not be required to pay Borrower any interest or earnings
on the Funds.

See Plaintiffs 2013 Deed of Trust § 3, ECF No. 109-4A at 3 Further, “All rights and obligations
contained in this Security Instrument are subject to any requirements and limitations of Applicable
Law.” Id. § 16. “Applicable law” is incorporated into the terms of the deed of trust. However,
“Applicable law”—namely, § 12-109(b)—exists independent of any contractual agreement between
the parties, and BofA would have a duty to pay interest regardless of whether the “Applicable law”
was expressly incorporated into the deed of trust.

The deed of trust establishes that, as a default, BofA is not obligated to pay interest, but BofA
acknowledges that it will comply with any law to the contrary. A requirement to comply with statutory
law necessarily arises independently from the contract. Therefore, the notice-and-cure provision is not
applicable to Plaintiffs contract claim. Indeed, it would make little sense to hold that a notice-and-
cure provision is inapplicable to a statutory duty, but is applicable to the breach of that same statutory

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duty where a defendant promises not to violate the statute that it is already obligated to obey.”

Further, while BofA may read the notice-and-cure provision differently, if this provision is
ambiguous, it must be construed against BofA as the drafter of the document. SumCo Eco-Contracting,
LLC ». Eliott Dredges, LLC, 2021 WL 2649799, at *8 (D. Md. June 28, 2021).”*

B. Any Notice To Cure Would Have Been Futile.

Even if the notice-and-cure provision is applicable to Plaintiffs contract claim, BofA is still
not entitled to summary judgment because a notice to cure would have been futile. “[T]he law does
not require a futile act.” Gorby v. Weiner, 2014 WL 4825962, at *5 (D. Md. Sept. 23, 2014). Here, any

effort to get BofA to cure its breach would have been futile. There is clear evidence of that futility.

 

° McShannock v. JP Morgan Chase Bank N_A., 354 F. Supp. 3d 1063 (N.D. Cal. 2018), rev'd on other grounds
and remanded, 976 F.3d 881 (Oth Cir. 2020) involved a substantially similar escrow interest provision
referencing “Applicable Law.” There, the court found that, “[t]he Deeds of Trust, by incorporating
[applicable law], arguably require Chase to pay escrow interest to Plaintiffs. Thus, there is a fair
argument that Chase’s alleged non-payment of escrow interest is not ‘pursuant to’ the Deeds of Trust,
and Plaintiffs were therefore not required to give notice before bringing this suit.” 354 F. Supp. 3d at
1072. The court also found that this statutory duty was “not ‘owed by reason of the Deeds of Trust.”
Id.

*! Cases cited by BofA ate distinguishable because they did not involve a breach of any contractual
provision requiring compliance with existing statutory law. Pfendler v. PNC Bank, Natl. Assn., 2018 WL
2688502, at *1-2 (W.D. Pa. June 5, 2018), Ail v. Nationstar Mortg, LLC, 2015 WL 4478061, at *1 (S.D.
Fla. July 2, 2015), and Giotta v. Ocwen Fin. Corp., 2016 WL 4447150, at *1 (N.D. Cal. Aug. 24, 2016)
involved fees that allegedly were not reasonable or appropriate under the circumstances and, therefore,
violated consumer protection laws or constituted RICO Act violations. None of those cases involved
allegations that the fees violated any other statutory requirement, or constituted breaches of a
contractual provision requiring compliance with existing law. Gerber v. First Horizon Home Loans Corp.,
2006 WL 581082, at *1 (W.D. Wash. Mar. 8, 2006) involved fees that allegedly were not permitted
under the agreement and constituted violations of consumer protection laws, but there was no
allegation that the fees violated any other statutory requirement or violated any contractual provision
requiring compliance with statutory requirements. Estep v. Fed. Home Loan Mortg. Corp., 2014 WL
1276495, at *3 (S.D.W. Va. Mar. 27, 2014) involved alleged contractual breaches based upon the failure
by the defendant to provide certain notices, but not based upon any violation of statutory law or a
contractual provision requiring compliance with statutory law. Indeed, Estep did not involve any
statutory claims. Id. at *3. In Niyaz v. Bank of Am., 2011 WL 63655, at *1 (E.D. Va. Jan. 3, 2011), a pro
se action brought to forestall a foreclosure, it is not clear how any agreement was allegedly breached,
but nothing suggests a violation of a provision requiring compliance with existing law. Finally, in
Ruchards, 2021 WL, 1060286, at *1-3, which also involved allegedly improper fee charges, there was no
breach of contract claim.

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In Lusnak, a case with virtually identical allegations against BofA, the plaintiff provided notice
to cure, but BofA did not cure or change its policies. See Ex. 8 ff 6-7 (Supp. Dec. of Donald M.
Lusnak ISO Plaintiff's Mot. for Class Certification and Plaintiffs Opposition to Def.’s Mot. for Summ.
J.) (explaining that after sending BofA a letter on Dec. 27, 2011 “inquiring about this issue [BofA’s
legal duty to pay escrow interest],” “the bank told me that it was not required by law to pay this
interest”). Ultimately, the Ninth Circuit ruled that BofA was obligated to pay interest on funds held in
escrow accounts. See Lusnak v. Bank of Am., N.A., 883 F.3d 1185, 1197 (9th Cir. 2018), cert. denied, 139
S. Ct. 567 (2018). Yet, BofA did not start paying borrowers within the Ninth Circuit until the Supreme
Court denied certiorari. However, to this day, BofA continues to refuse to pay interest to borrowers
outside the Ninth Circuit. See ECF No. 100-12, BofA’s Answers and Objections to Plaintiffs Second
Set of Interrogatories, Resp. to Interrogatory No. 9, at 5-6 (“Bank of America’s position was and
continues to be that Md. Com. Law Code § 12-109 is preempted by the National Bank Act.”).
a ” ¥-.
Defendant still refuses to pay interest to complaining borrowers.

The present action was filed almost ten months after the Lusnak decision (and also after the
Supreme Court denied certiorari in Lysnak), at a time when it had become clear that Defendant was
unwilling to pay escrow interest to borrowers like Plaintiff. Indeed, additional evidence of futility is
the fact that, after this action was initiated, instead of paying Plaintiff the interest to which she was
entitled, Defendant has continued to litigate against Plaintiff for almost three years, spending vast
amounts in attorneys’ fees and legal costs. Certainly a notice to cure had zero likelihood of causing

BofA to reverse course given that BofA continues to refuse to pay escrow interest to Plaintiff and

 

See, ¢.g., Ex. 9 (complaint log BANA-CLARK 0006891)

 

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other Maryland borrowers notwithstanding this Court’s decision that BofA has no preemption excuse
for violating Maryland law. Similarly, two other post-Lasaak actions involving similar claims are
currently pending against BofA in the Eastern District of New York. Yet, BofA has made no effort
to tesolve those actions and, instead, has engaged in years of costly litigation.”

In Kivett v. Flagstar Bank, 333 F.R.D. 500 (N.D. Cal. 2019), another case involving a mortgage
lender that failed to pay escrow interest, the court found class members’ failure to provide notice to
cure did not raise individualized issues because such failure “is excusable on the ground of futility”
where the defendant “has never shown a single instance of curing after receiving notice” from the
named plaintiffs. 333 F.R.D. at 504-05 (granting class certification). Accord City of New York v. Tavern
on the Green Int LLC, 351 F. Supp. 3d 680, 692-93 (S.D.N.Y. 2018) (defendant’s “continued
infringement even affer the suit was commenced makes clear that [defendant] never would have availed
itself of the opportunity to cure”) (emphasis in the original).

Critically, here, futility is a fact issue that cannot be resolved on a motion for summary
judgment. See, e.g, ITyX Sols, AG v. Kodak Alaris Inc., 2018 WL 2392004, at *12 (D. Mass. May 25,
2018) (denying summary judgment where “even assuming that Kodak did not comply with
the notice and opportunity to cure requirements of the termination provision, there is a triable issue
of fact concerning whether compliance would have been futile”). Here, Plaintiff has presented
substantial evidential that a notice to cure would have been futile. At the same time, BofA has not
presented any evidence to the contrary. Tellingly, BofA does not even argue that, had notice been

given, it would have cured its violation of Maryland state law. At a minimum, there are questions of

 

> Flymes v. Bank of America, N.A., No. 2:18-cv-02352 (E.D.N.Y.), and Cantero v. Bank of America, N.A.,
No. 1:18-cv-04157 (E.D.N.Y.), are consolidated cases that have been pending for almost three years.
In those cases, the court agreed with this Court and with the Ninth Circuit that state escrow interest
laws ate not preempted by federal law. Hymes v. Bank of Am., N.A., 408 F. Supp. 3d 171, 175 (E.D.N.Y.
2019). Yet, BofA continues to refuse to pay escrow interest.

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fact that preclude summary judgment.

C. Plaintiff May Recover Damages for Interest Not Paid Prior to November 2015.

Contrary to BofA’s assertion, Plaintiff has never conceded that she cannot recover damages
prior to November 29, 2015. The only reason Plaintiff's expert computed damages from 2015 onward
is because BofA has not yet produced loan data pre-dating 2015. See ECF No. 113 at 3. That BofA
now disingenuously seeks to use this to its benefit is surprising given that the parties expressly agreed
to limit expert reports to issues material to class certification, with additional merits discovery to be
conducted post-class certification, as reflected in the Court’s stipulated order. See ECF No. 73. In the
event the Court agrees equitable tolling applies here and certifies the putative class, it is uncontroverted
that BofA will be able to produce loan data pre-dating 2015 as it produced similar data in Lusnak.

CONCLUSION

For the foregoing reasons, BofA’s Motion for Summary Judgment should be DENIED with

regard to all claims except unjust enrichment and injunctive relief.”

 

* Plaintiff does not oppose the grant of summary judgment on Plaintiffs claim for unjust enrichment
or for injunctive relief.

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Respectfully submitted,

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